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                                CAUSE NO. D-l-GN-19-005972                                   D-1-GN-19-005972
                                                                                                 Norma Ybarra
KYLE SUMMERS, MATTHEW                            §         IN THE DISTRICT COURT OF
KLUCHIN, SARA GARDEPHE, ZACH                     §
MORRISON & TIMOTHY HILL                          §
                                                 §
                      Plaintiffs,                §
                                                 §
V. ■                                             §        TRAVIS COUNTY, TEXAS
                                                 §
ONE GOOD MAN PRODUCTIONS, LP,                    §
ONE GOOD MAN PRODUCTIONS,                        §
LLC, BRAD HUNT & LISA FREBERG                    §
                                                 §
                      Defendants.                §         459th JUDICIAL DISTRICT

                           DEFENDANTS’ ORIGINAL ANSWER

       COME NOW Defendants and file their Original Answer to Plaintiffs’ Original Petition.

In support thereof, Defendants respectfully show the following:

                                              I.
                                           DEFENSES

          1.   Plaintiffs have failed, in whole or in part, to state a claim upon which relief may

be granted.

          2.   To the extent Plaintiffs have failed to make reasonable efforts to mitigate

damages, any damages awarded to Plaintiffs should be reduced accordingly.

          3.   Plaintiffs’ claims may be barred in whole or in part by limitations.

          4.   Plaintiffs’ claims for punitive damages are barred because Defendants did not

possess malice or reckless indifference. Such claims are also barred because Defendants have

made good faith efforts to comply with all applicable law(s).

          5.   Any employment actions taken with respect to Plaintiffs were based on job-

related factors, were consistent with "business necessity," as that term is defined pursuant to

relevant law, and were based on legitimate, nondiscriminatory reasons.
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          6.   Defendants deny any and all allegations of improper or illegal conduct. However,

Defendants reserve the right to establish that Plaintiffs’ claims are barred, in whole or in part,

because Defendants would have taken the same actions in the absence of any alleged

impermissible motivating factor(s).

          7.   Plaintiffs’ claims for damages are capped pursuant to Tex. Lab. Code §

21.2585(d).

          8.   Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have failed to

exhaust all administrative prerequisites to suit.

          9.   Plaintiffs’ claims for work-related injuries are barred to the extent Plaintiffs were

employees at the time of the alleged work-related injury and were covered by workers’

compensation insurance.

                                             II.
                                       GENERAL DENIAL
       Pleading further, if necessary, and without waiving the foregoing defenses. Defendants

deny each and every, all and singular, the material allegations of Plaintiffs’ Original Petition and

demand strict proof thereof.

                                                    Respectfully submitted,

                                                    Bracewell LLP

                                                    Bw/s/Jav Aldis______________
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                                                      Jordan Kindred
                                                      State Bar No. 24102133
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                                                      Fax: (713) 222-3276
                                                      iav.aldis@bracewell.com

                                                    ATTORNEYS FOR DEFENDANTS
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                                    CERTIFICATE OF SERVICE

           I hereby certify that on this   day of October 2019, a true and correct copy of the

foregoing was served on all counsel of record by way of the Court’s electronic filing system.



                                                By:/s/Jay Aldis
                                                    Jay Aldis




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